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                              IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                      )
                                              )
         v.                                   )      CRIMINAL NO. 21-mj-00131
                                              )
                                              )
ANDREW ERICSON                                )

                                     NOTICE OF APPEARANCE

         COMES NOW Kira Anne West and enters her appearance as counsel in the above

captioned case.

                                              Respectfully submitted,

                                              KIRA ANNE WEST

                                      By:              /s/
                                              Kira Anne West
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                                     CERTIFICATE OF SERVICE

         I hereby certify on the 29th day of January, 2021 a copy of same was delivered to the

parties of record, by email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                      /S/
                                            Kira Anne West
